Case 5:17-cv-00001-MFU-JCH Document 60 Filed 12/20/19 Page 1 of 2 Pageid#: 492
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                                                                 BY;
                             H ARRISON BU R G D IW SIO N             oE      RK

 JASON M ILLER
       Plaintiffy                               Case N o.5:17cv00001

 V.
                                                By:H on.M ichaelF.U rbansld
 FO REM O ST IN DU STRIE S IN C.                ChiefU nited StatesD istrictJudge
 O F PAyeta1.,

       D efendants.

                                        O RD E R

       Thiscase wasflled in thiscotuton January 4,2017 upon rem ovalfrom the Clrke
 County CirctzitCourt.O n M ay 8,2018,defendantsflled a suggestion ofbanktuptcy and the

 case was stayed.On January 15,2019,plaintiff flled a Stattzs Report Notice in this case
 inclicating thataFinalD ecreehad been entered in thebanktnlptcycasependingin theSouthern

 DisttictofN ew York on November9,2018.TheStat'usReportNoticeindicated thatffgdjue
 tothefactthatthelandsale(theonlyasset)grossedonly$233,000,thePlaintiff'sunsecuted
 cllim resulted in itbeing extinguished withoutpaym ent.''StatusReportN otice,ECF N o.58.

       Asaresultofthe banluuptcy proceeding,itappeatsthatthereisnothing furtherto be

 done in thiscase.Accordingly,on N ovem ber 26,2019,the courtentered an Orderrequiting

 apartyto thiscaseiorespondwithin foutteen (14)daysand show causewhythiscaseshould
 notbedisnlissedwith prejudice.No responseto theShow CauseOrderhasbeen docketed.
       Assuch,tbiscaseisDISM ISSED W ITH PREJUD ICE AN D STRICU N FROM
 TH E D O CU T O F T H E COU RT .
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                                   M icha F.Urbanski
                                   ChiefUnitedStatesDisttictludge
